                                           Northern District Of Ohio
                                         United States Bankruptcy Court
                                         Ralph Regula U.S. Courthouse
                                          401 McKinley Avenue SW
                                               Canton, OH 44702
                                               Case No. 23−60412−jpg

In re:
   Daniel William McCarthy                                   Christina Nichole McCarthy
   645 Shelby− Ontario Road                                  645 Shelby− Ontario Road
   Mansfield, OH 44906                                       Mansfield, OH 44906
Social Security No.:
   xxx−xx−5352                                               xxx−xx−2096



             NOTICE OF PRELIMINARY HEARING ON MOTION FOR RELIEF FROM STAY

Lendmark Financial Services, LLC filed papers with the Court requesting relief from stay & co−debtor stay as to
Terry Edminster. The preliminary hearing will not be held absent a response being filed with the court.

Your rights may be affected. You should read these papers carefully and discuss them with your attorney, if you have
             one in this bankruptcy case. (If you do not have an attorney, you may wish to consult one.)

If you do not want the Court to grant the motion requested, or if you want the Court to consider your views on the
Motion, then on or before June 14, 2023 you or your attorney must:

                                      File with the court a written response at:
                                            United States Bankruptcy Court
                                            Ralph Regula U.S. Courthouse
                                              401 McKinley Avenue SW
                                                  Canton, OH 44702

If you mail your request/response to the court for filing, you must mail it early enough so the court will receive it on
or before the date stated above.

                                            You must also mail a copy to:

Trustee
Dynele L Schinker−Kuharich
Office of the Chapter 13 Trustee
200 Market Avenue North, Ste. LL30
Canton, OH 44702

Debtor's Attorney                                        Movant's Attorney
Jonathon Carl Elgin                                      Stephen D. Miles
JC Elgin Co., LPA                                        18 W. Monument Avenue
6 Water St.                                              Dayton, OH 45402
Shelby, OH 44875

                                       And attend the hearing scheduled for:
                                       Wednesday, June 28, 2023 at 2:00 p.m.
                                         U.S. Bankruptcy Court Courtroom
                                     401 McKinley Ave. SW, Canton, OH 44702

If you or your attorney do not take these steps, the Court may decide that you do not oppose the relief sought in the
Motion and may enter an order granting that relief.

Dated: May 31, 2023                                                                 For the Court
Form ohnb233                                                                     Josiah C. Sell, Clerk



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